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      Attorneys for Defendant NCO Financial Systems, Inc.

 9                              UNITED STATES DISTRICT COURT
10
                               CENTRAL DISTRICT OF CALIFORNIA
11

12
                                         EASTERN DIVISION

13    Sandra M. Munoz and Henry T. Munoz,             ) Case No. CV-10-07835-GHK (FFMx)
                                                      )
14
                            Plaintiff,                ) NOTICE OF SETTLEMENT
15                                                    )
             vs.                                      )
16
                                                      )
17    NCO Financial Systems, Inc.,                    )
                                                      )
18
                            Defendant.                )
19                                                    )
20
             NOTICE IS HEREBY GIVEN that this case has been settled. Plaintiffs Sandra
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22    M. Munoz and Henry T. Munoz and Defendant NCO Financial Systems, Inc., anticipate
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      filing a stipulation of dismissal of this action in its entirety with prejudice within 30 days.
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      ///
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26    ///
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      ///
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                                              Notice of Settlement

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 1
             The parties jointly request that all pending dates and filing requirements be
 2
      vacated and that the Court set a deadline on or after July 6, 2011, for filing dispositional
 3

 4    documents.

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 6
      Dated: June 6, 2011                 SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 7

 8                                        /s/ Sondra R. Levine
 9
                                          _____________________________
                                          Sondra R. Levine
10                                        Attorneys for Defendant NCO Financial Systems, Inc.
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                                             Notice of Settlement

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